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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                              NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                        In re GOOGLE ASSISTANT PRIVACY
                                   7    LITIGATION.                                        Case No. 19-cv-04286-BLF (SVK)
                                   8
                                                                                           REDACTION ORDER
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                                  12          The Court’s June 30, 2022 order on the Parties’ joint discovery letter brief has been
Northern District of California
 United States District Court




                                  13   provisionally filed under seal. See Dkt. 208. By July 7, 2022, the Parties are to submit joint

                                  14   proposed redactions accompanied by an administrative motion to seal that complies with

                                  15   applicable law and Civil Local Rule 79-5. If proposed redactions are not received by the deadline,

                                  16   the Court will order that Dkt.208 be filed on the public docket.

                                  17          SO ORDERED.

                                  18   Dated: June 30, 2022

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                                                                                                    SUSAN VAN KEULEN
                                  21                                                                United States Magistrate Judge
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